
PER CURIAM.
Merritt A. Hinkel (“Hinkel”) appeals the judgment of the Court of Appeals for Veterans Claims (‘Veterans Court”), which affirmed the Board of .Veterans Appeals’ (“board”) decision denying Hinkel’s allegations of clear and unmistakable error (“CUE”). Hinkel v. Principi No. 01-754, 2003 WL 21525307 (Vet.App. June 27, 2003). We affirm.
We review the judgment' of the Veterans Court purstant to 38 U.S.C. § 7292(a), which limits our reconsideration to questions of law. See Herndon v. Principi 311 F.3d 1121, 1123-24 (Fed.Cir.2002). Hinkel, a World War II veteran, has pursued a claim for disability resulting from a skin condition since 1946. The Regional Office (“RO”) and board repeatedly denied his claim, noting that Hinkel failed to provide evidence that his condition was service related. In 1990, Hinkel offered a letter from Dr. Huff that justified the award of disability, which was made retroactive to the date the new evidence had been submitted. Hinkel now asserts that the decisions made previous to the submission of the letter from Dr. Huff were the result of CUE because the, RO and board did not properly consider Hinkel’s medical records. Such a claim is purely factual and, therefore, not appropriate for disposition by this court. See Clemnions v. West, 206 F.3d 1401, 1403-04 (Fed.Cir.2000).
